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UNITED STATES BANKRUPTCY C(
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

In re ` Case No. 07-10503-A-13

DC NO. IRS-l; DRJ-B; MNE-l
ANTHONY MARTIN PAROLISE,
dba Parolise Chiropractic, FINDINGS OF FACT AND
CONCLUSIONS OF LAW RE DEBTOR'S
MOTION TO CONFIRM THIRD
MODIFIED PLAN; THE TRUSTEE'S
MOTION TO DISMISS; AND THE
MOTION OF THE INTERNAL REVENUE
SERVICE TO DISMISS THE CASE

Debtor.

 

A hearing Was held September 29, 2009, on the debtor's
motion to confirm a third modified plan (DRJ~B); the motion of
the chapter 13 trustee to dismiss the case (MNE-l; and the motion
of the Internal Revenue Service (“IRS”) to dismiss or convert the
case (IRS-l). Following the hearing, the court took the matter
under submission. This memorandum contains findings of fact and
conclusions of law required by Federal Rule of Bankruptcy
Procedure 7052 and Federal Rule of Civil Procedure 52. This is a
core proceeding as defined in 28 U.S.C. §157(b)(2)(A) and (L).
Bacquound Facts.

Anthony Parolise filed his chapter 13 case on February 26,
2007. On that same datej he filed a chapter 13 plan, which was

confirmed by order entered April 17, 2007. He then moved to

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modify the confirmed plan by filing a First Modified Chapter 13
Plan on January 2, 2008. An order confirming the First Modified
Plan (the “Plan”) as amended was entered April 21, 2008.

On September 21, 2009, the debtor filed a Third Modified
Plan. Prior to that date, the trustee had moved to dismiss the
case based on the debtor's failure to make payments required
under the Plan. Also, the IRS had moved to dismiss or convert
the case. The motion of the IRS was based on the debtor's
failure to file all prepetition tax returns for taxable periods
ending the four year period preceding the date that the petition
was filed and for the debtor's failure timely to file
postpetition tax returns and pay taxes. At the hearing on these
two motions to dismiss, the parties all agreed that it was
appropriate to advance the hearing on confirmation of debtor's
Third Modified Plan, previously set for October 29, 2009, to
September 29, 2009. As agreed, the debtor filed his Corrected
Third Modified Chapter 13 Plan (the “Third Modified Plan”) on
September 30, 2009.1 The IRS filed its objection to confirmation
of the Third Modified Plan on October 14, 2009. All three
matters were deemed submitted as of October 116, 2009.

To summarize the procedural discussion, the chapter 13
trustee moved to dismiss the case based on the debtor's failure
to make payments, but filed a statement of non-opposition to
confirmation of the Third Modified Plan. The IRS asks that the

case be dismissed or converted to chapter 7 and opposes

 

1The Corrected Third Modified Plan altered the Third
Modified Plan filed on September 21, 2009, to reflect the correct
amount of post-petition taxes owed.

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confirmation of the Third Modified Plan. The debtor asks that
the court confirm the Third Modified Plan as filed September 30,
2009.

The IRS has filed two proofs of claim. Claim No. 7 states a
claim for prepetition taxes owed in the amount of $154,420.96.
Claim No. 7 was amended by Claim No. 19, which states that the
amount of the claim of the IRS as of the date the case was filed
was $137,031.19. The IRS has not filed a proof of claim for its
postpetition taxes. However, the IRS has filed a Declaration of
Insolvency Advisor describing that the debtor had failed to pay
postpetition taxes due and owing and had also failed to file tax
returns for federal unemployment taxes, federal income taxes, and
federal employment taxes. The debtor acknowledges in the Third
Modified Plan at paragraph 7.02 that:

“The Debtor currently owes $81,793.99, to the Internal

Revenue Service for various unpaid taxes that accrued after

the commencement of this case, and $9,677.53 to the

Employment Development Department, also for various unpaid

taxes that accrued after the commencement of this case.”

The parties acknowledge that the purpose of the Third
Modified Plan is to deal with the postpetition taxes due to the
IRS and the Employment Development Department. In his
declaration in support of confirmation of the Third Modified
Plan, the debtor states:

“1 am current in payment of my plan payments but 1 am not

current in the payment of taxes that have accrued

postpetition and are due to the IRS and the EDD. 1 need to
reduce my plan payments to enable me to catch up with my
post~petition taxes . . . My income has not kept pace with
original projections. My modified plan will fund payment of
my priority claims and certain of my secured claims.”

The Third Modified Plan provides at paragraph 7.02 that:

“The Debtor shall pay at least $1,140.00, to the IRS on or

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before October 1, 2009. Beginning on November 1, 2009, the
Debtor shall pay at least $3,150.00, a month to the IRS and
at least $382.00, a month to the Employment Development
Department for application to these taxes. These payments
are calculated to coincide with the amount necessary to pay
the taxes plus penalties and interest in full within the
next 30 months. So long as the Debtor remains current in
the payment of these payments, the automatic sty herein
shall remain in full force and effect as to the IRS and the
Employment Development Department with respect to efforts by
them to collect from the Debtor via levy or any similar
device.”

The objection of the IRS to confirmation of the Third

vModified Plan is based on the debtor's failure to comply with

§ 1308(a) and § 1325(a)(9) and on the ground of feasibility.
Section 1308 requires a debtor to have filed no later than the
date of the first meeting of creditors, all prepetition tax
returns for all taxable periods ending the four year period
preceding the filing of the petition. In this case, the debtor
did not do that. Section 1325(a)(9) requires that for a plan to
be confirmed, the debtor has filed all applicable Federal, State
and local tax returns as required by § 1308.

The IRS also argues that the plan is not feasible. The IRS
observes that the debtor has not been able to remain current with
his ongoing tax obligations in the last two years and there is no
reason to believe that he will be able to do so now.

Legal Analysis.

Bankruptcy Code § 1329 deals with modification of a plan
after confirmation. Section 1329(a) states, as relevant here,:

“At any time after confirmation of the plan but before the

completion of payments under such plan, the plan may be

modified, upon request of the debtor, the trustee, or the
holder of an allowed unsecured claim, to -

(1) increase or reduce the amount of payments on claims of a

particular class provided for by the plan;

(2) extend or reduce the time for such payments;
(3) alter the amount of the distribution to a creditor

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whose claim is provided for by the plan to the extent

necessary to take account of any payment of such claim

other than under the plan; .

Another relevant section is § 1305. Section 1305 has to do
with the filing and allowance of postpetition claims. Section
1305(a)(1) states that a proof of claim may be filed by any
entity that holds a claim against the debtor for taxes that
become payable to a governmental unit while the case is pending.

Thus, the IRS could have, but did not, file a proof of claim for

the postpetition taxes that have accrued since this case was

_filed.

Section 1329(a) provides certain constraints for
modification of a plan after confirmation. As relevant here, in
order to modify the treatment of a claim under the plan, the
claim must be “provided for by the plan.” Neither party has
addressed whether the original plan as confirmed or the First
Modified Plan as confirmed “provides for” the postpetition claim
of the IRS. Section 6.02 of the Plan requires the debtor to
comply with applicable non-bankruptcy law. It states:

“Debtor’s financial and business affairs shall be conducted

in accordance with applicable non-bankruptcy law including

the timely filing of tax returns and payment of taxes.”

Also, both the original Plan and the First Modified Plan do
provide for payment of unsecured claims entitled to priority
under § 507, including the claim of the IRS and the Employment
Development Department. However, the fact that they provide for
the prepetition claim does not necessarily mean that they
provide for the postpetition claim.

This conflict is addressed in Lundin's treatise on chapter

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“Unfortunately, there is little in § 1329(a) to suggest
that Congress contemplated postconfirmation modification to
provide for the payment of postpetition claims. Once
again, the use of the words ‘provided for' becomes
important. Section 1329(a) states that a confirmed plan
can be modified to ‘increase or reduce the amount of
payments on claims of a particular class provided for by
the plan.

If the original plan is silent with respect to postpetition
claims, then it cannot be said that postpetition claims are
a particular class provided for by the plan.”

Keith M. Lundin, chapter 13 sankrupccy, 3d ed. § 261.1 (2000 &
Supp. 2004)(footnotes and citations omitted).

Lundin goes on to say that if a confirmed plan did not
specify payment for postpetition claims, then § 1329(a)(2) is no
help at modification after confirmation.

Also, here the IRS has not filed a proof of claim for
postpetition taxes. Under § 1322(b)(6), a chapter 13 debtor may
provide in the plan for the payment of all or any part of any
claim allowed under § 1305. Section 1322(b) is applicable to
modifications under § 1329. As Lundin goes on to state,

“If the holder [of a postpetition claim] declines to file a

proof of claim, most courts hold the postpetition claim is

not allowable and cannot be provided for under §

1322(b)(6). This interpretation of sections 1305 and

1322(b)(6) has inspired many courts to reject

postconfirmation modification to provide for the payment of

postpetition claims when the postpetition claim is not

allowable under § 1305.” Id.

A Virginia bankruptcy court held that § 1329 does not
permit modification to provide for postconfirmation taxes when
the taxing authority declines to file a proof of claim. Id.; lg
re Dickey, 64 B.R. 3 (Bankr. E.D. Va. 1985).

But there are additional reasons to deny confirmation of

the Third Modified Plan. In order to approve the

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postconfirmation modification of a plan, the debtor must satisfy
his burden of proof that he meets the requirements of § 1325(a),
including § 1325(a)(6), that he “will be able to make all
payments under the plan and to comply with the plan.” Here, the
debtor has failed to meet his burden of proof that the plan is
feasible. The only evidence in support of confirmation of the
Third Modified Plan is the debtor's declaration. That
declaration is conclusory. The debtor simply states that his
modified plan “will fund payment” of his priority claims and
some of his secured claims. There is no evidence of what is
different now from when the case was filed. The debtor does
state that Amended Schedules 1 and J show his current income and
expenses. But there is nothing to persuade the court that
Schedules 1 and J are an accurate projection of future income.
The debtor has simply not met his burden of proof that the plan
is feasible.

Additionally, the IRS makes a reasonable argument that a
debtor who has accrued over $80,000 in postpetition unpaid tax
obligations and who has failed timely to file postpetition tax
returns should not be allowed to confirm a Third Modified Plan
to deal with the postpetition tax default. 1ndeed, the form
chapter 13 plan used in this district provides that a debtor
with a confirmed plan shall not incur new debt exceeding $1,000
without first obtaining court authorization. (Sec. 6.02). In
essence, the debtor here has been financing the operation of his
business with an involuntary loan from the taxing authority.

For all the reasons set forth above, the debtor's motion to

confirm the Third Modified Plan will be denied by separate

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order. The motion of the trustee and the motion of the Internal
Revenue Service to dismiss the case will be granted; provided
however that the debtor shall have seven days from entry of the
order accompanying these findings of fact and conclusions of law

to convert to chapter 7 if he wishes.

DATED= December _Cz, 2009. § §

WHITNEY RIMEL, dge
United States kruptcy Court

 

 

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PROOF OF SERVICE BY MAIL

STATE OF CALIFORNIA )
) ss.
coUNTY oF FRESNO )

1 am a citizen of the United States and a resident of the
county aforesaid; 1 am over the age of eighteen years and not a
party to the within above-entitled action; my business address
is 2500 Tulare Street, Suite 2501, Fresno, California, 93721.
On December g:, 2009, 1 served the within document on the
interested parties in said action by placing a true copy thereof
enclosed in a sealed envelope with postage thereon fully
prepaid, in the United States mail at Fresno, California,
addressed as follows:

David R. Jenkins, Esq.
P. O. Box 1406
Fresno, CA 93716
M. Nelson Enmark
Chapter 13 Trustee
3447 W. Shaw Ave., #A
Fresno, CA 93711
Laurel M. Costen, Esq.
Special Assistant U. S. Attorney
4330 Watt Avenue, Suite 470, SA-2801
Sacramento, CA 95821-7012
1 certify (or declare), under penalty of perjury, that the

foregoing is true and correct. Executed on December 6 , 2009,

sat M'

Kathy Torréf, PLS

at Fresno, California,

 

 

